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Richard R. Friess, Esq. ISB #7820
friess@thwlaw.com
THOMSEN HOLMAN WHEILER, P.L.L.C.
2635 Channing Way
Idaho Falls, ID 83404
Telephone: (208) 522-1230
Fax: (208) 522-1277

Brian M. Lutz (admitted pro hac vice)
blutz@gibsondunn.com
GIBSON, DUNN & CRUTCHER LLP
555 Mission Street, Suite 3000
San Francisco, CA 94105-0921
Telephone: (415) 393-8200
Fax: (415) 393-8306

Stephen C. Whittaker (admitted pro hac vice)
cwhittaker@gibsondunn.com
GIBSON, DUNN & CRUTCHER LLP
3161 Michelson Drive
Irvine, CA 92612-4412
Telephone: (949) 451-3800
Fax: (949) 451-4220

Attorneys for Plaintiffs



                           IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF IDAHO



 MELALEUCA, Inc., an Idaho corporation,                Case No. 4:18-cv-36
 and MELALEUCA (CHINA) WELLNESS
 PRODUCTS CO., LTD., a wholly-owned
 subsidiary of Melaleuca, Inc.                 DECLARATION OF RYAN D.
                                               NELSON IN SUPPORT OF THE
        Plaintiffs,                            AMENDED MOTION FOR
                                               PRELIMINARY INJUNCTION
 v.

 KOT NAM SHAN, an individual, and
 SHAKLEE CORP., a Delaware corporation,

        Defendants.


1- DECLARATION OF RYAN D. NELSON
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        1.      My name is Ryan D. Nelson. I am an attorney licensed to practice law in Idaho

State Court and in the Federal District Court of the State of Idaho. I have personal knowledge of

the facts set forth in this declaration, and were I called upon to testify, I could and would

truthfully testify thereto.

        2.      I have been employed by Plaintiff Melaleuca, Inc. as General Counsel and in the

Legal Department since 2009.

        3.      On January 16, 2018, I submitted a declaration in this case in support of a

temporary restraining order, detailing several facts relevant to this case. I reaffirm the statements

made in that declaration, which is attached as Exhibit A to this Declaration. I submit this

Declaration to provide additional facts in support of Melaleuca’s request for a preliminary

injunction.

        4.      As I detailed in my prior Declaration, I spoke with Todd Tucker on January 11,

2018. In addition to the information detailed in my prior Declaration, Mr. Tucker also told me

that Shaklee had been in discussions with Mr. Kot for employment prior to December 2017, and

that Shaklee decided to wait for what he viewed as the requisite six-week period to see whether

Melaleuca would pay Mr. Kot any compensation before formally hiring Mr. Kot in early January

to work at Shaklee.

        5.      During this approximately six-week period between the time that Mr. Kot left his

employment with Melaleuca and joined Shaklee, neither Mr. Kot nor Shaklee revealed that Mr.

Kot had interviewed and been offered a position with Shaklee. In fact, as set forth in my prior

declaration, in response to my direct question, Marjorie Fine, long-time General Counsel and a

Director at Shaklee, specifically denied that Shaklee had interviewed or offered to hire Mr. Kot.



2- DECLARATION OF RYAN D. NELSON  
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On or about January 18, 2018, I had a follow-up conversation with Ms. Fine, who told me that

Mr. Tucker had withheld from her that Shaklee had in fact interviewed and hired Mr. Kot. She

apologized for not providing me accurate information.

       6.      I declare under penalty of perjury pursuant to the laws of the United States that

the foregoing is true and correct.




       DATED this 20th day of February, 2018.




3- DECLARATION OF RYAN D. NELSON  
